          Case 4:11-cv-00240-REL-RAW Document 3 Filed 10/05/11 Page 1 of 1



                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF IOWA
                                           CENTRAL DIVISION

DORIS STROUD,                                         NO. 4:2011-cv-00240

                   Plaintiff,

Vs.,

LHR, INC.                                                        VOLUNTARY DISMISSAL
                                                                   WITH PREJUDICE
                   Defendant.




       Pursuant to Rule 41.1(a)(2) of the Local Federal Rules of Civil Procedure, plaintiff Doris Stroud
requests all claims raised or that could have been raised in this action are hereby dismissed with
prejudice and each party will bear its own costs and attorney fees.




   /s/ L. Ashley Zubal _____
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CERTIFICATE OF SERVICE: By signing above, the attorney, L. Ashley Zubal certifies that on the 4th
day of October, 2011, this document was filed electronically in the United States District Court for the
Southern District of Iowa Court. The parties listed will receive notice via US Mail.
